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   ARAPAHOE COUNTY DISTRICT COURT,
   STATE OF COLORADO
   7325 S. Potomac Street                                   DATE FILED: August 25, 2021 4:40 PM
   Centennial, CO 80112                                     FILING ID: 2CD0D61516792
                                                            CASE NUMBER: 2021CV31465
   Plaintiff(s):   LYNN SANCHEZ,

   v.

   Defendant(s): WALGREEN CORPORATION and
   WALGREEN CO. , a foreign corporation d.b.a.
   WALGREENS #6986.                                                       Court Use Only
                                                                       Case No.:
   Attorney for Plaintiff:
                                                                       Div./Ctrm.:
   Heidi A. Tanner, Esq., #52115
   THE PAUL WILKINSON LAW FIRM, LLC
   999 Jasmine Street
   Denver, Colorado 80220
   Telephone: (303) 333-7285
   Facsimile: (303) 756-1878


                                           COMPLAINT


         COMES NOW, Plaintiff Lynn Sanchez, through her attorneys, The Paul Wilkinson Law
  Firm, LLC, and brings this Complaint against Defendants Walgreen Corporation, a foreign
  corporation, Walgreens Co. d.b.a. Walgreens #6986. As grounds, Plaintiff states as follows:

                                        INTRODUCTION

          1.      Plaintiff Lynn Sanchez (“Plaintiff”) seeks compensatory damages resulting from
  injuries arising under the Premises Liability Statute and Negligence.

          2.      On information and belief, on or about October 29, 2019 at approximately 7:22
  a.m., Plaintiff, a business invitee, was injured when she slipped on the presence of ice under
  snow outside the only entrance/exit as she walked down the ramp/sloped sidewalk that led
  directly to her vehicle parked in the handicap parking space located at 10601 E. Alameda
  Avenue, Aurora, Colorado 80112 (“The Property”).

          3.       On information and belief, on or about October 29, 2019 at approximately 7:22
  a.m., Plaintiff, a business invitee, was injured when she stepped onto the negligently maintained
  ramp/sloped concrete sidewalk leading to the handicapped parking space located outside The
  Property’s only ingress/egress where there was an accumulation of ice and snow, causing her to
  fall backward onto the cement and landing on her backside and both hands.

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                                                                                          EXHIBIT B
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          4.     As a direct and proximate result of the subject incident on or about October 29,
  2019, Plaintiff suffered economic damages, noneconomic damages, physical impairment and
  disfigurement as described herein.

        5.     The Property is owned, controlled, occupied, maintained and managed by
  Defendants Walgreen Corporation and Walgreen Co. d.b.a. Walgreens #6986 (“Defendants”).

                                   PERSONAL JURISDICTION

          6.      Pursuant to C.R.S.A. § 13-1-124 (West 2020), this Court has personal jurisdiction
  over the parties to this action as the tortious action occurred on or about October 29, 2019, in the
  State of Colorado.

                              SUBJECT MATTER JURISDICTION

          7.     Pursuant to C.R.S.A. Const. Art. 6 § 9 (West 2020), this Court has subject matter
  jurisdiction over this action because it involves a civil matter, and the amount in controversy
  exceeds $25, 000.00.

                                               VENUE

         8.      Pursuant to C.R.C.P. 98(c), venue is proper in Arapahoe County District Court
  because the tortious conduct at issue occurred in Arapahoe County, Colorado.

                                   GENERAL ALLEGATIONS

        9.      At all times relevant, Plaintiff was a resident of the City of Aurora, County of
  Arapahoe, and State of Colorado.

           10.    On information and belief, at all times relevant, Walgreen Corporation was an
  Illinois foreign corporation, licensed to conduct business in the State of Colorado.

         11.    At all times relevant hereto, Defendant Walgreen Corporation was registered with
  the Colorado Secretary of State.

         12.  At all times relevant hereto, Defendant Walgreen Corporation’s registered agent
  was The Prentice-Hall Corporation, located at 1900 W. Littleton Boulevard, Littleton, CO
  80120.

          13.    At all times material hereto, Defendant Walgreen Corporation conducted business
  in the County of Arapahoe, and State of Colorado.

        14.     At all times material hereto, Defendant Walgreen Co. d.b.a Walgreens #6986
  conducted business in the County of Arapahoe, and State of Colorado.



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          15.     At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986 was
  an Illinois foregoing corporation, licensed to conduct business in the State of Colorado.

          16.    At all times relevant hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986 was
  registered with the Colorado Secretary of State

          17.    At all times relevant hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986’
  registered agent was The Prentice-Hall Corporation, located at 1900 W. Littleton Boulevard,
  Littleton, CO 80120.

        18.     At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  conducted business in the County of Arapahoe, and State of Colorado.

          19.     At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986 had
  a principal office street address was 200 Wilmot Road, Deerfield, Illinois 60015.

         20.    At all times material hereto, Defendant Walgreen Corporation owned The
  Property.

         21.    At all times material hereto, Defendant Walgreen Corporation controlled The
  Property.

         22.    At all times material hereto, Defendant Walgreen Corporation occupied The
  Property.

         23.    At all times material hereto, Defendant Walgreen Corporation managed The
  Property.

         24.    At all times relevant hereto, Defendant Walgreen Corporation maintained The
  Property.

          25.    At all times material hereto, Defendant Walgreen Corporation conducted business
  in the County of Arapahoe, State of Colorado, as a landlord.

         26.    Defendant Walgreen Corporation was the landlord of The Property.

        27.    At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  owned The Property.

          28.    At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  controlled The Property.

         29.    At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  occupied The Property.




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        30.    At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  managed The Property.

         31.   At all times relevant hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  maintained The Property.

        32.     At all times material hereto, Defendant Walgreen Co. d.b.a. Walgreens #6986
  conducted business in the County of Arapahoe, State of Colorado, as a landlord.

         33.    Defendant Walgreen Co. d/b/a Walgreens #6986 owned was the landlord of The
  Property.

         34.     In Colorado, a landowner has a non-delegable duty to protect invitees from unsafe
  conditions on its premises.

         35.     In Colorado, a landowner has a non-delegable duty to protect licensees from
  unsafe conditions on its premises.

         36.     In Colorado, a landowner is deemed to have constructive knowledge of unsafe
  conditions on its premises and is vicariously liable for injuries resulting therefrom.

         37.     On October 29, 2019, Defendants Walgreen Corporation and Walgreen Co. d.b.a.
  Walgreens #6986 knew or should have known its employees, including but not limited to,
  maintenance employees, agents, representatives, managers, other staff, and subcontractors,
  created a dangerous condition on The Property.

         38.    On or about October 29, 2019, Plaintiff/business invitee was injured while on The
  Property.

         39.    At the time and place, Plaintiff/business invitee slipped and fell on The Property’s
  premises.

         40.    Plaintiff/business invitee slipped and fell on a dangerous condition on The
  Property’s premises.

         41.     On October 29, 2019, Defendant Walgreen Co. d.b.a. Walgreens #6986 knew or
  should have known its employees, including but not limited to, maintenance employees, agents,
  representatives, managers, other staff, and subcontractors, created a dangerous condition on The
  Property.

         42.     On October 29, 2019, Defendant Walgreen Co. d.b.a. Walgreens #6986. knew or
  should have known its employees, including but not limited to, maintenance employees, agents,
  representatives, managers, other staff, and subcontractors, created a dangerous condition on The
  Property.




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         43.     On October 29, 2019, Defendant Walgreen Co. d.b.a. Walgreens #6986 knew or
  should have known its employees, including but not limited to, maintenance employees, agents,
  representatives, managers, other staff, and subcontractors, created a dangerous condition on The
  Property.

         44.     On October 29, 2019, Defendant Walgreen Co. d.b.a. Walgreens #6986 knew or
  should have known its employees, including but not limited to, maintenance employees, agents,
  representatives, managers, other staff, and subcontractors, created a dangerous condition on The
  Property.

          45.    At that time and place, Plaintiff/business invitee suffered severe injuries,
  economic damages, noneconomic damages, and physical impairment as a result of slipping and
  falling as a result of an accumulation of ice under the snow outside the only entrance/exit as
  Plaintiff walked down the ramp/sloped sidewalk that led directly to her vehicle parked in the
  handicap parking space located at The Property.

          46.     At that time and place, Plaintiff/business invitee suffered severe injuries,
  economic damages, noneconomic damages, and physical impairment as a result of slipping and
  falling as a result of an accumulation of ice under the snow outside the only entrance/exit as she
  walked down the ramp/sloped sidewalk that led directly to her vehicle parked in the handicap
  parking space located at The Property.

         47.     On or about that time, Plaintiff/business invitee was using reasonable care for her
  own safety.

         48.   On or about that time, Defendant Walgreen Corporation failed to provide a safe
  environment on The Property.

         49.     On or about that time, Defendant Walgreen Co. d/b/a Walgreens #6986 failed to
  provide a safe environment on The Property.

        50.    On or about that time, Defendants Walgreen Corporation and Walgreen Co. d.b.a.
  Walgreens #6986 failed to reasonably inspect, maintain, and control The Property.

        51.    On or about that time, Defendants Walgreen Corporation and Walgreen Co. d.b.a.
  Walgreens #6986 failed to correct, eliminate and warn of hazardous conditions on The Property.

          52.     On or about that time, there were no signs of warning of the dangerous condition
  that existed on The Property.

         53.    Plaintiff/business invitee is entitled to compensation for her injuries, damages,
  and economic and non-economic losses suffered as a result of the Defendants’/landlords’
  negligence, carelessness, and recklessness in managing, maintaining, and controlling The
  Property.
         54.
                                  FIRST CLAIM FOR RELIEF

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                 (Premises Liability against Defendant Walgreen Corporation)

         55.    Plaintiff incorporates the above and below paragraphs herein by reference.

        56.     Defendant Walgreen Corporation is legally responsible for the activities
  conducted or circumstances that existed on The Property at the time of the incident.

          57.     Defendant Walgreen Corporation was the landowners of The Property at the time
  of the incident pursuant to C.R.S. § 13-21-115(1) (West 2019).

         58.    On October 29, 2019, Plaintiff was a licensee to The Property owned, managed
  and/or maintained by Defendant Walgreen Corporation, defined in C.R.S. § 13-21-115(5)(b)
  (West 2020) as a person who enters or remains on the land of another for the licensee’s own
  convenience or to advance his own interests, pursuant to the landowner’s permission or consent.

          59.    According to C.R.S. § 13-21-115(3)(b)(I)-(II) (West 2020), a licensee may
  recover for damages caused “…[b]y the landowner’s unreasonable failure to exercise reasonable
  care with respect to dangers created by the landowner of which the landowner actually knew; or
  [b]y the landowner’s unreasonable failure to warn of dangers not created by the landowner which
  are not ordinarily present on property of the type involved and of which the landowner actually
  knew.”
          60.    On October 29, 2019, Plaintiff was an invitee on The Property owned, controlled,
  occupied, managed, and/or maintained by Defendant Walgreen Corporation.

          61.    An invitee is defined in C.R.S. § 13-21-115(5)(a) (West 2020) as a person who
  enters or remains on the land of another to transact business in which the parties are mutually
  interested, or who enters or remains on such land in response to the landowner’s express or
  implied representation that the public is requested, expected, or intended to enter or remain.

          62.     According to C.R.S. § 13-121-115(3)(c)(I) (West 2020), “an invitee may recover
  for damages caused by the landowner’s unreasonable failure to exercise reasonable care to
  protect against dangers of which the landowner actually knew or should have known.”

         63.    As a landowner, Defendant Walgreen Corporation, owed certain duties to Plaintiff
  enumerated in C.R.S. § 13-21-115 (West 2020), including a duty to inspect, maintain and control
  The Property so that hidden and/or latent conditions were rendered safe.

          64.     Additionally, Defendant Walgreen Corporation owed Plaintiff/business invitee a
  duty to correct hazardous conditions on The Property.

          65.    Additionally, Defendant Walgreen Corporation owed Plaintiff/business invitee a
  duty to eliminate hazardous conditions on The Property.

          66.    Additionally, Defendant Walgreen Corporation owed Plaintiff/business invitee a
  duty to warn of hazardous conditions on The Property.



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         67.    Defendant Walgreen Corporation failed to meet its duties relative to the
  hazardous conditions existing on The Property at the time of the incident.

         68.    Defendant Walgreen Corporation failed to meet its duties relative to the
  hazardous conditions existing on The Property at the time of the incident.

         69.    Defendant Walgreen Corporation failed to exercise reasonable care to protect
  against the dangers of which they actually knew existed on The Property at the time of the
  incident.

         70.    Defendant Walgreen Corporation failed to exercise reasonable care to protect
  against dangers of which they should have known existed on The Property at the time of the
  incident.

         71.    Defendant Walgreen Corporation unreasonably failed to correct the hazardous
  condition on The Property, which it actually knew or reasonably should have known existed on
  The Property at the time of the incident.

         72.    Defendant Walgreen Corporation’s unreasonably failed to eliminate the hazardous
  condition on The Property which it actually knew or reasonably should have known existed on
  The Property at the time of the incident.

         73.    Defendant Walgreen Corporation unreasonably failed to warn of the hazardous
  condition on The Property which it actually knew or reasonably should have known existed on
  The Property at the time of the incident.

          74.   As a direct, foreseeable, and proximate result of Defendant Walgreen
  Corporation’s statutory failures, Plaintiff/business invitee sustained severe injuries, damages, and
  losses.

          75.     As a direct, foreseeable, and proximate result of Defendant Walgreen
  Corporation’s statutory failures, Plaintiff/business suffered and will suffer including, but not
  limited to, the following injuries, damages, and losses:

             a. Serious bodily injury;

             b. Past and future economic expenses, losses, and damages including, but not limited
                to, loss of use, diminishment of value, medical and other health care and
                rehabilitation expenses related to his injuries, wage loss, past and future loss of
                earnings, loss of earning capacity, property damage, and loss of time;

             c. Past and future non-economic damages including, but not limited to, pain and
                suffering, inconvenience, emotional stress, loss of enjoyment of life, and
                impairment of quality of life;

             d. Temporary and permanent physical impairment; and

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               e. Any disfigurement.

         76.    Additionally, as a direct, foreseeable, and proximate result of Defendant
  Walgreen Corporation’s statutory failures, Plaintiff has been rendered more vulnerable to
  subsequent injury.

                                 SECOND CLAIM FOR RELIEF
                       (Negligence against Defendant Walgreen Corporation)

         77.      Plaintiff incorporates the above and below paragraphs herein by reference.

         78.      Defendant Walgreen Corporation owed duties to Plaintiff to:

               a. Provide a safe environment on The Property;

               b. Exercise reasonable care in inspecting The Property;

               c. Exercise reasonable care in maintaining The Property;

               d. Exercise reasonable care in controlling The Property;

               e. Correct hazardous conditions on The Property;

               f. Eliminate hazardous conditions on The Property; and

               g. Warn of hazardous conditions on The Property.

         79.     Defendant Walgreen Corporation breached the duties it owed to Plaintiff and was
  negligent and careless in the following respects:

               a. Failing to provide a safe environment on The Property;

               b. Failing to exercise reasonable care in inspecting The Property;

               c. Failing to exercise reasonable care in maintaining The Property;

               d. Failing to correct hazardous conditions on The Property;

               e. Failing to eliminate hazardous conditions on The Property; and

               f. Failing to warn of hazardous conditions on The Property.

        80.      As a direct, foreseeable, and proximate result of Defendant Walgreen
  Corporation’s statutory failures, Plaintiff sustained severe injuries, damages, and losses.



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          81.    As a direct, foreseeable, and proximate result of Defendant Walgreen
  Corporation’s statutory failures, Plaintiff suffered and will suffer including, but not limited to,
  the following injuries, damages, and losses:

               a. Serious bodily injury;

               b. Past and future economic expenses, losses, and damages including, but not limited
                  to, loss of use, diminishment of value, medical and other health care and
                  rehabilitation expenses related to his injuries, wage loss, past and future loss of
                  earnings, loss of earning capacity, property damage, and loss of time;

               c. Past and future non-economic damages including, but not limited to, pain and
                  suffering, inconvenience, emotional stress, loss of enjoyment of life, and
                  impairment of quality of life;
               d. Temporary and permanent physical impairment; and

               e. Any disfigurement.

         82.    Additionally, as a direct, foreseeable, and proximate result of Defendant
  Walgreen Corporation’s statutory failures, Plaintiff has been rendered more vulnerable to
  subsequent injury.

         83.     On or about October 29, 2019, Defendant Walgreen Corporation was 100 percent
  negligent, careless and/or reckless in causing the incident.

                                THIRD CLAIM FOR RELIEF
         (Premises Liability against Defendant Walgreen Co. d.b.a. Walgreens #6986)

         84.      Plaintiff incorporates the above and below paragraphs herein by reference.

           85.   Defendant Walgreen Co. d.b.a. Walgreens #6986 is legally responsible for the
  activities conducted or circumstances that existed on The Property at the time of the incident.

         86.     Defendant Walgreen Co. d.b.a. Walgreens #6986 was the landowners of The
  Property at the time of the incident pursuant to C.R.S. § 13-21-115(1) (West 2019).

          87.    On October 29, 2019, Plaintiff was a licensee to The Property owned, managed
  and/or maintained by Defendant Walgreen Co. d.b.a. Walgreens #6986 defined in C.R.S. § 13-
  21-115(5)(b) (West 2020) as a person who enters or remains on the land of another for the
  licensee’s own convenience or to advance his own interests, pursuant to the landowner’s
  permission or consent.

          88.    According to C.R.S. § 13-21-115(3)(b)(I)-(II) (West 2020), a licensee may
  recover for damages caused “…[b]y the landowner’s unreasonable failure to exercise reasonable
  care with respect to dangers created by the landowner of which the landowner actually knew; or
  [b]y the landowner’s unreasonable failure to warn of dangers not created by the landowner which

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   are not ordinarily present on property of the type involved and of which the landowner actually
   knew.”
           89.    On October 29, 2019, Plaintiff was an invitee on The Property owned, controlled,
   occupied, managed, and/or maintained by Defendant Walgreen Co. d.b.a. Walgreens #6986.

           90.    An invitee is defined in C.R.S. § 13-21-115(5)(a) (West 2020) as a person who
   enters or remains on the land of another to transact business in which the parties are mutually
   interested, or who enters or remains on such land in response to the landowner’s express or
   implied representation that the public is requested, expected, or intended to enter or remain.

           91.     According to C.R.S. § 13-121-115(3)(c)(I) (West 2020), “an invitee may recover
   for damages caused by the landowner’s unreasonable failure to exercise reasonable care to
   protect against dangers of which the landowner actually knew or should have known.”

           92.    As a landowner, Defendant Walgreen Co. d.b.a. Walgreens #6986 owed certain
   duties to Plaintiff enumerated in C.R.S. § 13-21-115 (West 2020), including a duty to inspect,
   maintain and control The Property so that hidden and/or latent conditions were rendered safe.

           93.     Additionally, Defendant Walgreen Co. d.b.a. Walgreens #6986              owed
   Plaintiff/business invitee a duty to correct hazardous conditions on The Property.

           94.     Additionally, Defendant Walgreen Co. d.b.a. Walgreens #6986              owed
   Plaintiff/business invitee a duty to eliminate hazardous conditions on The Property.

           95.     Additionally, Defendant Walgreen Co. d.b.a. Walgreens #6986              owed
   Plaintiff/business invitee a duty to warn of hazardous conditions on The Property.

           96.    Defendant Walgreen Co. d.b.a. Walgreens #6986 failed to meet its duties relative
   to the hazardous conditions existing on The Property at the time of the incident.

           97.    Defendant Walgreen Co. d.b.a. Walgreens #6986 failed to meet its duties relative
   to the hazardous conditions existing on The Property at the time of the incident.

           98.     Defendant Walgreen Co. d.b.a. Walgreens #6986 failed to exercise reasonable
   care to protect against the dangers of which they actually knew existed on The Property at the
   time of the incident.

           99.     Defendant Walgreen Co. d.b.a. Walgreens #6986 failed to exercise reasonable
   care to protect against dangers of which they should have known existed on The Property at the
   time of the incident.

          100. Defendant Walgreen Co. d.b.a. Walgreens #6986 unreasonably failed to correct
   the hazardous condition on The Property which it actually knew or reasonably should have
   known existed on The Property at the time of the incident.




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          101. Defendant Walgreen Co. d.b.a. Walgreens #6986’s unreasonably failed to
   eliminate the hazardous condition on The Property which it actually knew or reasonably should
   have known existed on The Property at the time of the incident.

          102. Defendant Walgreen Co. d.b.a. Walgreens #6986 unreasonably failed to warn of
   the hazardous condition on The Property which it actually knew or reasonably should have
   known existed on The Property at the time of the incident.

         103. As a direct, foreseeable, and proximate result of Defendant Walgreen Co. d.b.a.
   Walgreens #6986’s statutory failures, Plaintiff/business invitee sustained severe injuries,
   damages, and losses.

          104. As a direct, foreseeable, and proximate result of Defendant Walgreen Co. d.b.a.
   Walgreens #6986’s statutory failures, Plaintiff/business invitee suffered and will suffer
   including, but not limited to, the following injuries, damages, and losses:

             a. Serious bodily injury;

             b. Past and future economic expenses, losses, and damages including, but not limited
             to, loss of use, diminishment of value, medical and other health care and
             rehabilitation expenses related to his injuries, wage loss, past and future loss of
             earnings, loss of earning capacity, property damage, and loss of time;

             c. Past and future non-economic damages including, but not limited to, pain and
             suffering, inconvenience, emotional stress, loss of enjoyment of life, and impairment
             of quality of life;

             d. Temporary and permanent physical impairment; and

             e. Any disfigurement.

          105. Additionally, as a direct, foreseeable, and proximate result of Defendant
   Walgreen Co. d.b.a. Walgreens #6986’s statutory failures, Plaintiff has been rendered more
   vulnerable to subsequent injury.

                               FOURTH CLAIM FOR RELIEF
              (Negligence against Defendant Walgreen Co. d.b.a. Walgreens #6986)

          106.   Plaintiff incorporates the above and below paragraphs herein by reference.

          107.   Defendant Walgreen Co. d.b.a. Walgreens #6986 owed duties to Plaintiff to:

             a. Provide a safe environment on The Property;

             b. Exercise reasonable care in inspecting The Property;



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              c. Exercise reasonable care in maintaining The Property;

              d. Exercise reasonable care in controlling The Property;

              e. Correct hazardous conditions on The Property;

              f. Eliminate hazardous conditions on The Property; and

              g. Warn of hazardous conditions on The Property.

           108. Defendant Walgreen Co. d.b.a. Walgreens #6986 breached the duties it owed to
   Plaintiff and was negligent and careless in the following respects:

              a. Failing to provide a safe environment on The Property;

              b. Failing to exercise reasonable care in inspecting The Property;

              c. Failing to exercise reasonable care in maintaining The Property;

              d. Failing to correct hazardous conditions on The Property;

              e. Failing to eliminate hazardous conditions on The Property; and

              f. Failing to warn of hazardous conditions on The Property.

         109. As a direct, foreseeable, and proximate result of Defendant Walgreen Co. d.b.a.
   Walgreens #6986’s statutory failures, Plaintiff sustained severe injuries, damages, and losses.

            110. As a direct, foreseeable, and proximate result of Defendant Walgreen Co. d.b.a.
   Walgreens #6986’s statutory failures, Plaintiff suffered and will suffer including, but not limited
   to, the following injuries, damages, and losses:

              a. Serious bodily injury;

              b. Past and future economic expenses, losses, and damages including, but not limited
                 to loss of use, diminishment of value, medical and other health care and
                 rehabilitation expenses related to his injuries, wage loss, past and future loss of
                 earnings, loss of earning capacity, property damage, and loss of time;

              c. Past and future non-economic damages including, but not limited to, pain and
                 suffering, inconvenience, emotional stress, loss of enjoyment of life, and
                 impairment of quality of life;
              d. Temporary and permanent physical impairment; and

              e. Any disfigurement.



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          111. Additionally, as a direct, foreseeable, and proximate result of Defendant
   Walgreen Co. d.b.a. Walgreens #6986’s statutory failures, Plaintiff has been rendered more
   vulnerable to subsequent injury.

         112. On or about October 29, 2019, Defendant Walgreen Co. d.b.a. Walgreens #6986
   was 100 percent negligent, careless and/or reckless in causing the incident.


           WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment
   for her and against Defendants in an amount to fairly and reasonably compensate Plaintiff for her
   injuries, damages, and losses including, but not limited to, economic damages, noneconomic
   damages, physical impairment and disfigurement, temporary and permanent physical injury,
   wage loss, past and future loss of earnings, loss of earning capacity, expert witness fees, statutory
   interest from the date of this cause of action or as otherwise permitted under Colorado law, and
   for such other and further relief as this Court deems just and proper.

          Dated this 25th day of August 2021.

                                                 Respectfully submitted,

                                                 The Paul Wilkinson Law Firm, LLC

                                                 This pleading was filed electronically pursuant to Rule 121,
                                                 §1-26. The original signed pleading is in counsel’s file.

                                                 /s/ Heidi A. Tanner_____________
                                                 Heidi A. Tanner, Esq., #52115
                                                 999 Jasmine St.
                                                 Denver, CO 80220
                                                 Attorney for Plaintiff

   Plaintiff’s Address:
   3125 S. Fraser Street
   Aurora, Colorado 80014




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